                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-33

                                        No. COA20-660

                                    Filed 18 January 2022

     Wake County, No. 18 CRS 207577

     STATE OF NORTH CAROLINA

                  v.

     MARK BRICHIKOV, Defendant.


           Appeal by Defendant from judgment entered 11 December 2019 by Judge

     Rebecca W. Holt in Wake County Superior Court. Heard in the Court of Appeals 11

     May 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Marc X.
           Sneed, for the State.

           M. Gordon Widenhouse, Jr., for defendant-appellant.


           MURPHY, Judge.


¶1         A defendant is entitled to a jury instruction on a lesser included offense when

     the evidence, viewed in the light most favorable to the defendant, could support a jury

     verdict on that lesser included offense. When there is a reasonable possibility that

     the jury would have reached a different result had the trial court given the jury

     instruction on a lesser included offense, a defendant suffers prejudice and is entitled

     to a new trial.

¶2         Here, the evidence, when viewed in the light most favorable to Defendant,
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     entitled him to a jury instruction on the lesser included offense of involuntary

     manslaughter. There was a reasonable possibility that a different result would have

     been reached had the involuntary manslaughter instruction been given to the jury,

     and Defendant is entitled to a new trial.

                                       BACKGROUND

¶3         Defendant Mark Brichikov appeals his second-degree murder conviction in the

     death of his wife, Nadia Brichikov. Defendant and Mrs. Brichikov both were regular

     drug users.   Only two days prior to her death, Mrs. Brichikov suffered a drug

     overdose, which resulted in a significant wound to the back of her head and required

     medical personnel to use Narcan to reverse the impact of opioids in her system. Mrs.

     Brichikov subsequently told Defendant about the overdose and the use of Narcan to

     revive her.

¶4         On 21 April 2018, Defendant and Mrs. Brichikov coordinated their meet up at

     a motel, and expressed their love for one another and desire to be together multiple

     times. Defendant had just left a drug rehabilitation facility, and Mrs. Brichikov had

     recently left jail and suffered the overdose the day before. However, Mrs. Brichikov

     had been sexually active with at least one individual other than Defendant, and she

     was also presently working as a confidential police informant. Defendant and Mrs.

     Brichikov met at a motel on the evening of 21 April 2018; during that evening and

     the early morning hours of 22 April 2018, Defendant and Mrs. Brichikov exited their
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     motel room multiple times, and Defendant appeared to have purchased drugs from a

     truck nearby.

¶5         In the early morning hours on 22 April 2018, responding law enforcement

     personnel found Mrs. Brichikov deceased in her motel room, with blunt force trauma

     to her face, as well as drug paraphernalia and Narcan in the room. Mrs. Brichikov

     had cocaine and fentanyl in her system at the time of her death. Responding law

     enforcement viewed motel surveillance video, which showed Defendant exiting the

     motel room and Mrs. Brichikov lying on the floor of the room. Law enforcement

     obtained a warrant and arrested Defendant for murder.

¶6         Defendant was indicted for first-degree murder in the death of Mrs. Brichikov.

     At trial, the State presented evidence Defendant assaulted Mrs. Brichikov in the

     motel room after they entered the motel room together for the final time in the early

     morning of 22 April 2018. During the assault and until she was located by police,

     Defendant and Mrs. Brichikov were the only individuals inside the motel room; while

     multiple individuals walked by Mrs. Brichikov while she was lying on the ground in

     the motel room, they did not enter the room. The State introduced motel video

     surveillance, which showed Defendant left the motel room for the final time in the

     early morning hours of 22 April 2018, and also showed Mrs. Brichikov assaulted, on

     the floor, and moving when Defendant left.

¶7         At trial, the medical examiner called by the State opined that Mrs. Brichikov’s
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     death was a “homicide,” due to the presence of blunt force trauma consistent with an

     assault as at least a partial cause of the death. The medical examiner called by

     Defendant agreed.

¶8            Further, both experts also agreed that Mrs. Brichikov’s significant heart

     condition (due to a narrowing of a coronary artery), as well as fentanyl in her system,

     contributed to her death, and pointed to all three circumstances–the assault, the

     heart condition, and the fentanyl–as contributing factors to her death, or

     comorbidities. The State’s expert was not certain whether the removal of any one of

     these factors would have prevented Mrs. Brichikov’s death, while Defendant’s expert

     testified Mrs. Brichikov would not have died of the facial fractures from the assault

     alone.       Defendant’s expert also testified that Mrs. Brichikov’s movements when

     Defendant left the room appeared to be consistent with a fentanyl overdose, rather

     than the assault to her face, and noted Mrs. Brichikov’s airways “were

     unobstructed.”1


              1We note the experts’ disagreement does not negate Defendant’s criminal
     responsibility. See State v. Bethea, 167 N.C. App. 215, 222, 605 S.E.2d 173, 179 (2004) (marks
     and citations omitted) (“To escape responsibility based on an intervening or superseding
     cause, the defendant must show that the intervening or superseding act was the sole cause
     of death. An intervening or superseding cause is a cause that so entirely intervenes in or
     supersedes the operation of the defendant’s negligence that it alone, without his negligence
     contributing thereto in the slightest degree, produces the injury.”), cert. denied, 362 N.C. 88     (2007); see also State v. Quesinberry, 319 N.C. 228, 233, 354 S.E.2d 446, 449 (1987) (“A person
     is criminally responsible for a homicide if his act caused or directly contributed to the death
     of the victim.”). Here, Defendant could still be criminally responsible for Mrs. Brichikov’s
     death because his assaultive behavior directly contributed to her death.
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¶9         Defendant did not testify during his case in chief, but he admitted under oath

     outside the jury’s presence during the charge conference that he assaulted Mrs.

     Brichikov and allowed his attorney to admit the same in closing arguments. After

     both sides rested, Defendant requested voluntary manslaughter and involuntary

     manslaughter jury instructions.     During the charge conference, Defendant also

     requested a pattern jury instruction for second-degree murder that included

     involuntary manslaughter and stated the following:

                 [DEFENSE COUNSEL]: . . . . We are also requesting
                 involuntary manslaughter under a different theory. And
                 the theory is that if the jury determines that [Defendant]
                 is not guilty of first-, second- and voluntary, if submitted,
                 on the theory that he did not proximately cause her death,
                 then we would submit that an involuntary manslaughter
                 is appropriate under the theory that, based on the video,
                 he -- and text messages and circumstantial evidence, that
                 he would’ve had knowledge of her drug use and did not
                 adequately get her any medical assistance, and as a result
                 of no medical assistance, [Mrs. Brichikov] expired.

     In addition to that request, the trial court and Defense Counsel had the following

     exchanges during the charge conference:

                 THE COURT: . . . . I believe you mentioned earlier that
                 you’re requesting involuntary manslaughter.

                 [DEFENSE COUNSEL]: Yes, Your Honor.

                 ....

                 THE COURT: . . . . -- assuming the Court gives involuntary
                 manslaughter, or not, either way, do you intend to argue
                 that [Defendant] is guilty of . . .
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                    [DEFENSE COUNSEL]: Yes, Judge. If the Court is
                    inclined to give the involuntary instruction, then yes, I
                    would be inclined to argue [Defendant] is guilty. We have
                    had that discussion, Judge.

                    ....

                    THE COURT: All right. So this one does include at the end
                    of the second-degree, “If you do not find [Defendant] guilty
                    of second-degree murder, you must determine whether
                    [Defendant] is guilty of involuntary manslaughter,” and . .
                    . “First that [Defendant] acted in a criminally negligent
                    way” is what you’re requesting?

                    [DEFENSE COUNSEL]: Yes, Your Honor.

¶ 10         The North Carolina pattern jury instruction for “Second Degree Murder Where

       a Deadly Weapon Is Used, Not Including Self-Defense, Covering All Lesser Included

       Homicide Offenses” reads, inter alia, as follows regarding the lesser included offense

       of involuntary manslaughter:

                    For you to find the defendant guilty of involuntary
                    manslaughter, the State must prove two things beyond a
                    reasonable doubt:

                    First, that the defendant acted a) [unlawfully] (or) b) [in a
                    criminally negligent way]. a) [The defendant’s act was
                    unlawful if (define crime e.g. defendant recklessly
                    discharged a gun, killing the victim).] b) [Criminal
                    negligence is more than mere carelessness.               The
                    defendant’s act was criminally negligent, if, judging by
                    reasonable foresight, it was done with such gross
                    recklessness or carelessness as to amount to a heedless
                    indifference to the safety and rights of others.]

                    And Second, the defendant’s [unlawful] (or) [criminally
                    negligent] act proximately caused the victim’s death.
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       N.C.P.I.–Crim. 206.30A (2019).         The involuntary manslaughter pattern jury

       instruction does not include language specifically discussing a culpable omission. See

       id.
¶ 11         The trial court rejected Defendant’s requests for pattern voluntary and

       involuntary manslaughter instructions. Defendant objected at the charge conference

       to the trial court’s refusal to submit those instructions, and renewed his objection

       after the trial court instructed the jury. The trial court instructed the jury as to first-

       degree murder and second-degree murder.

¶ 12         On the element of malice, and the use of Defendant’s hands as a deadly

       weapon, the trial court instructed as follows:

                    Malice means not only hatred, ill will or spite, as it is
                    ordinarily understood -- to be sure, that is malice -- but it
                    also means that condition of mind that prompts a person to
                    take the life of another intentionally or to intentionally
                    inflict a wound with a deadly weapon upon another which
                    proximately results in her death, without just cause,
                    excuse or justification.

                    If the State proves beyond a reasonable doubt that
                    [Defendant] intentionally killed the victim with a deadly
                    weapon or intentionally inflicted a wound upon the victim
                    with a deadly weapon that proximately caused the person’s
                    death, you may infer first that the killing was unlawful
                    and, second, that it was done with malice, but you are not
                    compelled to do so.

                    ....

                    If the State proves beyond a reasonable doubt that
                    [Defendant] intentionally inflicted a wound upon the
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                    victim with a deadly weapon that proximately caused the
                    victim’s death, you may infer, first, that the killing was
                    unlawful and, second, that it was done with malice, but you
                    are not compelled to do so.

       (Emphases added).     The trial court’s instructions closely track the pattern jury

       instructions regarding malice in the “Second Degree Murder Where a Deadly Weapon

       Is Used, Not Including Self-Defense, Covering All Lesser Included Homicide

       Offenses” jury instruction.   See N.C.P.I.–Crim. 206.30A (2019).       In its closing

       argument, specifically regarding malice, the State referred to Mrs. Brichikov’s facial

       wounds from Defendant’s assault in arguing “[t]hat’s malice. That’s ill will. That’s

       hatred. That’s anger.”

¶ 13         The jury convicted Defendant of second-degree murder. On appeal, Defendant

       argues the trial court’s failure to instruct the jury on involuntary manslaughter was

       reversible error, as the jury could have found Defendant assaulted Mrs. Brichikov in

       a culpably negligent manner and failed to render aid in a culpably negligent omission,

       and accordingly could have convicted him of involuntary manslaughter.

¶ 14         The State argues a presumption of malice arose due to Defendant’s use of his

       hands in his assault of Mrs. Brichikov.        Specifically, the State argues it “has

       established malice in the instant case.” (Emphasis added). Of note, in its brief, the

       State does not attempt to distinguish one of the most important cases relied on by

       Defendant, State v. Debiase, 211 N.C. App. 497, 711 S.E.2d 436, disc. rev. denied, 365
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                                            Opinion of the Court



       N.C. 335, 717 S.E.2d 399 (2011).

                                              ANALYSIS

                                          A. Preservation

¶ 15         “Where a defendant has properly preserved [a] challenge to jury instructions,

       an appellate court reviews the trial court’s decisions regarding jury instructions de

       novo.” State v. Richardson, 270 N.C. App. 149, 152, 838 S.E.2d 470, 473 (2020); see

       also State v. Osorio, 196 N.C. App. 458, 466, 675 S.E.2d 144, 149 (2009) (“Assignments

       of error challenging the trial court’s decisions regarding jury instructions are

       reviewed de novo by this Court.”).

¶ 16         We examine two preservation issues regarding the involuntary manslaughter

       instruction.   First, we analyze whether Defendant’s requests for an involuntary

       manslaughter instruction, with subsequent argument regarding the theory of

       culpable omission, were sufficient requests for a pattern jury instruction for

       involuntary manslaughter. Second, we examine whether Defendant preserved the

       involuntary manslaughter instruction via objection.

¶ 17         While Defendant requested a pattern jury instruction for involuntary

       manslaughter, the focus of the request turned to a theory of Defendant’s culpable

       omission to obtain aid for his wife when he knew she was overdosing. A request for

       a culpable omission instruction would be a deviation from the pattern jury

       instruction, qualify as a special instruction, and would have needed to be submitted
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       to the trial court in writing. See State v. McNeill, 346 N.C. 233, 240, 485 S.E.2d 284,

       288 (1997) (citation omitted) (“We note initially that [the] defendant’s proposed

       instructions [to modify the pattern jury instructions] were tantamount to a request

       for special instructions. . . . This Court has held that a trial court’s ruling denying

       requested [special] instructions is not error where the defendant fails to submit his

       request for instructions in writing. [The] [d]efendant here did not submit either of

       his proposed modifications in writing, and therefore it was not error for the trial court

       to fail to charge as requested.”), cert. denied, 522 U.S. 1053, 139 L. Ed. 2d 647 (1998).

¶ 18         However, upon a thorough review of the Record, Defendant requested

       involuntary manslaughter under multiple theories and was not limited to the

       culpable omission theory. While Defendant requested a special instruction regarding

       culpable omission that deviated from the pattern jury instructions, he also requested

       the pattern jury instruction for involuntary manslaughter by responding

       affirmatively to the trial court’s question regarding whether Defendant was

       requesting the following instruction: “First that the defendant acted in a criminally

       negligent way[.]” The trial court’s language in that question derives from the pattern

       jury instruction for involuntary manslaughter, and Defendant orally requested the

       pattern jury instruction for involuntary manslaughter. See N.C.P.I.–Crim. 206.30A

       (2019) (marks omitted) (“For you to find the defendant guilty of involuntary

       manslaughter, the State must prove . . . that the defendant acted . . . in a criminally
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       negligent way.”).

¶ 19         Further, Defendant’s objections to the trial court’s refusal to give the

       involuntary manslaughter instruction preserved the issue for appeal. See State v.

       McNeil, 350 N.C. 657, 691, 518 S.E.2d 486, 507 (1999) (“We note that [the] defendant

       waived this [improper jury instructions] argument by failing to properly object during

       the charge conference.”), cert. denied, 529 U.S. 1024, 146 L. Ed. 2d. 321 (2000); State

       v. Ross, 322 N.C. 261, 265, 367 S.E.2d 889, 891 (1988); N.C. R. App. P. 10(a)(2) (2021)

       (“A party may not make any portion of the jury charge or omission therefrom the

       basis of an issue presented on appeal unless the party objects thereto before the jury

       retires to consider its verdict, stating distinctly that to which objection is made and

       the grounds of the objection; provided that opportunity was given to the party to make

       the objection out of the hearing of the jury, and, on request of any party, out of the

       presence of the jury.”). Defendant objected during the charge conference and after

       the trial court instructed the jury, and properly preserved his challenge to the trial

       court’s refusal to give a pattern involuntary manslaughter instruction to the jury.

            B. Refusal to Give Pattern Involuntary Manslaughter Instruction

¶ 20         “When determining whether the evidence is sufficient to entitle a defendant to

       jury instructions, courts must consider the evidence in the light most favorable to the

       defendant.” State v. Clegg, 142 N.C. App. 35, 46, 542 S.E.2d 269, 277 (marks omitted),

       disc. rev. denied, 353 N.C. 453, 548 S.E.2d 529 (2001).
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¶ 21         “[A] judge presiding over a jury trial must instruct the jury as to a lesser

       included offense of the crime charged where there is evidence from which the jury

       could reasonably conclude that the defendant committed the lesser included offense.”

       State v. McConnaughey, 66 N.C. App. 92, 95, 311 S.E.2d 26, 28 (1984) (emphasis

       added); see also State v. Collins, 334 N.C. 54, 58, 431 S.E.2d 188, 190-91 (1993) (“If

       the evidence before the trial court in the defendant’s non-capital trial . . . tended to

       show that the defendant might be guilty of lesser-included offenses, the trial court

       was required . . . to instruct the jury as to those lesser-included crimes.”).

                    A trial judge is required to instruct the jury on the law
                    arising from evidence presented at trial. The necessity of
                    instructing the jury as to lesser included offenses arises
                    only where there is evidence from which the jury could find
                    that a lesser included offense had been committed.
                    Further, the trial judge is not required to submit lesser
                    included offenses for a jury’s consideration when the
                    State’s evidence is positive as to each and every element of
                    the crime charged and there is no conflicting evidence
                    related to any element of the crime charged.

       State v. Washington, 142 N.C. App. 657, 659-60, 544 S.E.2d 249, 251 (2001)

       (emphases added) (citation omitted), disc. rev. denied, 353 N.C. 532, 550 S.E.2d 165
       (2001); see also State v. Drumgold, 297 N.C. 267, 271, 254 S.E.2d 531, 533 (1979)

       (citation and marks omitted) (“It is well settled that a defendant is entitled to have

       all lesser degrees of offenses supported by the evidence submitted to the jury as

       possible alternate verdicts. On the other hand, the trial court need not submit lesser
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       degrees of a crime to the jury when the State’s evidence is positive as to each and

       every element of the crime charged and there is no conflicting evidence relating to any

       element of the charged crime.”).

¶ 22         We review whether the State’s evidence was sufficient to fully satisfy its

       burden of proving each element of the crime–second-degree murder. See State v.

       Johnson, 317 N.C. 193, 205, 344 S.E.2d 775, 783 (1986). Where other evidence

       negates those elements, when viewed in the light most favorable to Defendant,

       Defendant is entitled to an instruction regarding the lesser included offense of

       involuntary manslaughter. Id. (“Since the State’s evidence was sufficient to fully

       satisfy its burden of proving each element of first-degree murder and there was no

       other evidence to negate these elements other than the defendant’s denial that he

       committed the offense, the defendant was not entitled to an instruction on the lesser-

       included offense of involuntary manslaughter.”). Defendant’s argument that the trial

       court should have given an involuntary manslaughter jury instruction posits that the

       evidence negated the element of malice and supported a jury verdict of involuntary

       manslaughter due to his criminally negligent actions.

¶ 23         Additionally,

                    [o]n appeal, a defendant is required not only to show that
                    a challenged jury instruction was erroneous, but also that
                    such error prejudiced the defendant. “A defendant is
                    prejudiced . . . when there is a reasonable possibility that,
                    had the error in question not been committed, a different
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                    result would have been reached at the trial out of which the
                    appeal arises.”

       Richardson, 270 N.C. App. at 152, 838 S.E.2d at 473 (citation omitted) (quoting

       N.C.G.S. § 15A-1443(a) (2019)).

       1. Second-Degree Murder and Malice Presumption

¶ 24         Before our analysis of the lesser included offense of involuntary manslaughter,

       we note the elements of the more serious crime of second-degree murder, and analyze

       its element of malice. “Second-degree murder . . . is defined as an unlawful killing of

       a human being with malice but without premeditation and deliberation.” State v.

       Thomas, 325 N.C. 583, 567, 386 S.E.2d 555, 603-04 (1989).             The pattern jury

       instructions require the State to prove three things beyond a reasonable doubt in

       order to obtain a second-degree murder conviction: “the defendant wounded the

       victim with a deadly weapon”; “the defendant acted intentionally and with malice”;

       and “the defendant’s act was a proximate cause of the victim’s death.” N.C.P.I.–Crim.

       206.30A (2019).

¶ 25         Malice is defined as follows:

                    [M]alice, as it is ordinarily understood, means not only
                    hatred, ill will, or spite, but also that condition of mind
                    which prompts a person to take the life of another
                    intentionally, without just cause, excuse, or justification, or
                    to wantonly act in such a manner as to manifest depravity
                    of mind, a heart devoid of a sense of social duty, and a
                    callous disregard for human life.
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       State v. Crawford, 329 N.C. 466, 481, 406 S.E.2d 579, 587 (1991).

¶ 26         “It is well settled that an instruction to the jury that the law implies malice

       and unlawfulness from the intentional use of a deadly weapon proximately resulting

       in death is not a conclusive irrebuttable presumption.” State v. Holder, 331 N.C. 462,

       487, 418 S.E.2d 197, 211 (1992) (citing State v. Reynolds, 307 N.C. 184, 297 S.E.2d

       532 (1982)); see also State v. Forrest, 321 N.C. 186, 191-92, 362 S.E.2d 252, 255 (1987)

       (“The trial court properly instructed the jury that it should consider this permissive

       inference [of malice] along with all the other facts and circumstances . . . .”).

       Defendant and the State disagree regarding whether the evidence established the

       second-degree murder element of malice, which would preclude a lesser included

       offense instruction in this case. After analyzing caselaw below, we do not agree with

       the State’s contention that each element of second-degree murder, specifically malice,

       was conclusively established when the evidence is viewed in the light most favorable

       to Defendant.

       2. Involuntary Manslaughter–Criminal Negligence

¶ 27         “Involuntary manslaughter, which is a lesser included offense of second degree

       murder, is the unlawful killing of a human being without malice, without

       premeditation and deliberation, and without intention to kill or inflict serious bodily

       injury.” Debiase, 211 N.C. App. at 505, 711 S.E.2d at 441 (emphasis added) (citation

       and marks omitted).
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¶ 28         “Involuntary manslaughter may also be defined as the unintentional killing of

       a human being without malice, proximately caused by (1) an unlawful act not

       amounting to a felony nor naturally dangerous to human life, or (2) a culpably

       negligent act or omission.” State v. Powell, 336 N.C. 762, 767, 446 S.E.2d 26, 29 (1994)

       (emphasis added).

                    [W]hile       involuntary     manslaughter      imports      an
                    unintentional killing, i.e., the absence of a specific intent to
                    kill, it is . . . accomplished by means of some intentional
                    act. [W]ithout some intentional act in the chain of
                    causation leading to death there can be no criminal
                    responsibility. Death under such circumstances would be
                    the result of accident or misadventure.

       State v. Wilkerson, 295 N.C. 559, 582, 247 S.E.2d 905, 918 (1978).

¶ 29         Defendant was entitled to an involuntary manslaughter jury instruction,

       specifically in light of our opinion in Debiase. In Debiase, the defendant and the

       victim argued, and the defendant attacked the victim with a beer bottle and hit the

       victim multiple times in the head. Debiase, 211 N.C. App. at 500, 711 S.E.2d at 438.

       During the course of the attack, the beer bottle broke, the defendant “jabbed [the

       victim] multiple times with the bottle[,]” and the victim died. Id. at 498, 500, 711

       S.E.2d at 437, 438 (marks omitted). The defendant was convicted of second-degree

       murder, but argued the trial court erred in failing to instruct the jury on the lesser

       included offense of involuntary manslaughter because the evidence supported the

       charge. Id. at 503, 711 S.E.2d at 440. We agreed, stating the evidence, when viewed
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       in the light most favorable to the defendant, indicated “[the] [d]efendant did not know

       and had no reason to believe that the bottle would break or that the breaking of the

       bottle would inflict a fatal wound to [the victim’s] neck.” Id. at 506, 711 S.E.2d at

       442.

¶ 30          Moreover, in Debiase, we rejected the State’s argument that the defendant’s

       use of a deadly weapon required a “conclusive, irrebuttable presumption” that the

       defendant acted with malice, which would have rendered the trial court’s refusal to

       instruct the jury regarding involuntary manslaughter valid. Id. at 509, 711 S.E.2d

       at 444.   The State makes a similar argument here regarding a required and

       established presumption of malice. This argument is similarly unpersuasive and is

       now in direct contradiction to our caselaw. The trial court’s instruction regarding

       malice, which told the jury it was permitted, but not required, to infer malice from

       Defendant’s use of his hands in the assault, comported with our holding in Debiase,

       which treated malice as a “permissible inference,” and not a “mandatory

       presumption,” when “the defendant adduces evidence or relies on a portion of the

       State’s evidence raising an issue on the existence of malice[.]” Debiase, 211 N.C. App.

       at 509-10, 711 S.E.2d at 444-45 (marks omitted).

¶ 31          Viewing the evidence in the light most favorable to Defendant, the evidence

       was not “positive” as to the element of malice for second-degree murder. The jury

       could reasonably have found Defendant did not act with malice, but rather committed
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a reckless act without the intent to kill or seriously injure2–he spent the day declaring

his love for Mrs. Brichikov, they used drugs together, something occurred to trigger

a confrontation after they spent hours together the day of the killing, and her body

was in a weakened state from a recent overdose, heart blockage, and fentanyl

overdose. Further, according to Defendant’s expert, the assault did not cause the



       2 We have held:

                Had the jury been permitted to consider the issue of Defendant’s
                guilt of involuntary manslaughter, there is a reasonable
                possibility that it might have concluded that he acted ‘without
                intention to kill or inflict serious bodily injury, and without
                either express or implied malice,’ making him guilty of
                involuntary manslaughter rather than second degree murder.
Debiase, 211 N.C. App. at 510, 711 S.E.2d at 445 (quoting State v. Foust, 258 N.C. 453, 459,
128 S.E.2d 889, 893 (1963)). “‘In this setting, and with credibility a matter for the jury, the
court should have submitted involuntary manslaughter with appropriate instructions’ to the
jury.” Id. (quoting State v. Wrenn, 279 N.C. 676, 683, 185 S.E.2d 129, 133 (1971)).
       Further, we note Defendant acted intentionally in assaulting Mrs. Brichikov, which
does not negate the possibility of him acting with criminal negligence to support an
involuntary manslaughter conviction. “[W]hile involuntary manslaughter imports an
unintentional killing, i.e., the absence of a specific intent to kill, it is . . . accomplished by
means of some intentional act. Indeed without some intentional act in the chain of causation
leading to death there can be no criminal responsibility.” Wilkerson, 295 N.C. at 582, 247
S.E.2d at 918; see also State v. Drew, 162 N.C. App. 682, 686-87, 592 S.E.2d 27, 30 (holding
that, where the defendant stabbed an individual he did not expect to be in his home, “the jury
could have . . . concluded that [the] defendant . . . intended to strike at [the intruder] to keep
him away, but did not intend to kill or seriously injure him,” which merited an involuntary
manslaughter instruction), disc. rev. denied, appeal dismissed, 358 N.C. 735, 601 S.E.2d 867(2004); Debiase, 211 N.C. App. at 508-10, 711 S.E.2d at 443-45 (noting that, despite the
defendant’s admission that he intentionally hit the deceased on the head with a beer bottle,
the “evidence tending to show the occurrence of a killing caused by the negligent or reckless
use of a deadly weapon without any intent to inflict death or serious injury [was] sufficient
to support an involuntary manslaughter conviction” and merited an involuntary
manslaughter instruction). Here, the evidence tending to show Mrs. Brichikov’s death was
caused by Defendant’s negligent or reckless use of his hands without intent to kill or seriously
injure Mrs. Brichikov was sufficient to support an involuntary manslaughter conviction.
                                       STATE V. BRICHIKOV

                                          2022-NCCOA-33

                                         Opinion of the Court



       death on its own. Defendant also arguably used a less deadly weapon than the bottle

       used in Debiase, his hands, and “the evidence contained in the present [R]ecord is

       susceptible to the interpretation that, at the time that [Defendant] struck [Mrs.

       Brichikov],” he did so recklessly and with culpable negligence, permitting an

       involuntary manslaughter conviction. Debiase, 211 N.C. App. at 506, 711 S.E.2d at

       442.

¶ 32          The State relies on State v. Smith, inter alia, to advance an argument that

       malice is presumed due to the use of a deadly weapon. See State v. Smith, 351 N.C.

       251, 266-67, 524 S.E.2d 28, 40, cert. denied, 531 U.S. 862, 148 L. Ed. 2d 100 (2000);

       see also State v. Bush, 289 N.C 159, 170, 221 S.E.2d 333, 340, judgment vacated in

       part and remanded on other grounds, Bush v. North Carolina, 429 U.S. 809, 50 L. Ed.

       2d 69 (1976). Specifically, the State argues it “has established malice in the instant

       case.” (Emphasis added). Our Supreme Court’s holding in Smith, where malice was

       not required to be shown in a first-degree murder conviction where the defendant

       used poison as a weapon, is clearly distinguishable from this case, where Defendant’s

       hands were his deadly weapon, which do not support an irrebuttable presumption of

       malice. See Smith, 351 N.C. at 267, 524 S.E.2d at 40 (marks omitted) (“This Court

       has already stated that murder by torture, which is in the same class as murder by

       poison, is a dangerous activity of such reckless disregard for human life that, like

       felony murder, malice is implied by the law. The commission of torture implies the
                                        STATE V. BRICHIKOV

                                           2022-NCCOA-33

                                          Opinion of the Court



       requisite malice, and a separate showing of malice is not necessary.”). We find Smith

       inapplicable to this case. Further, such an established, conclusive presumption of

       malice would be at odds with the trial court’s permissible inference instruction in this

       case. Finally, such a mandatory presumption of malice would be contrary to our

       Supreme Court’s precedent. See Holder, 331 N.C. at 487, 418 S.E.2d at 211 (holding

       a jury instruction regarding the implication of “malice and unlawfulness from the

       intentional use of a deadly weapon proximately resulting in death is not a conclusive

       irrebuttable presumption”).

¶ 33         In light of Debiase, a defendant wielding a deadly weapon that is not a tool

       deemed per se malicious, such as poison, merits an involuntary manslaughter

       instruction when the evidence, viewed in the light most favorable to the defendant,

       supports that the defendant acted intentionally and recklessly or carelessly, rather

       than intentionally and maliciously, and also acted without a specific intent to kill.

       See State v. Brewer, 325 N.C. 550, 575-76, 386 S.E.2d 569, 583 (1989), cert. denied,

       495 U.S. 951, 109 L. Ed. 2d 541 (1990); State v. Fleming, 296 N.C. 559, 564, 251 S.E.2d

       430, 433 (1979); Wilkerson, 295 N.C. at 582, 247 S.E.2d at 918. The evidence, viewed

       in the light most favorable to Defendant, merited an involuntary manslaughter

       instruction, as the evidence supported a finding Defendant acted with criminal

       negligence. The trial court erred in denying Defendant’s request for an involuntary

       manslaughter instruction.
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                                           2022-NCCOA-33

                                         Opinion of the Court



       3. Prejudice

¶ 34                The trial court must give a requested instruction, at least
                    in substance, if a defendant requests it and the instruction
                    is correct in law and supported by the evidence. In
                    determining whether the evidence supports an instruction
                    requested by a defendant, the evidence must be interpreted
                    in the light most favorable to [the defendant]. The trial
                    judge making the decision must focus on the sufficiency of
                    the evidence, not the credibility of the evidence. Failure to
                    give the requested instruction where required is a
                    reversible error.

       State v. Reynolds, 160 N.C. App. 579, 581, 586 S.E.2d 798, 800 (2003) (citations

       omitted), disc. rev. denied, 358 N.C. 548, 599 S.E.2d 916 (2004); see also State v.

       Tidwell, 112 N.C. App. 770, 775-77, 436 S.E.2d 922, 926-27 (1993) (ordering a new

       trial where the trial court refused the defendant’s request for an involuntary

       manslaughter jury instruction and the defendant’s testimony supported a finding of

       culpably negligent action).

                    Error in failing to submit the question of a defendant’s guilt
                    of lesser degrees of the same crime is not cured by a verdict
                    of guilty of the offense charged because, in such case, it
                    cannot be known whether the jury would have convicted of
                    a lesser degree if the different permissible degrees arising
                    on the evidence had been correctly presented in the charge.

       State v. Thacker, 281 N.C. 447, 456, 189 S.E.2d 145, 151 (1972), disapproved on other

       grounds in North Carolina v. Butler, 441 U.S. 369, 372, 60 L. Ed. 2d 286, 291 (1979).

¶ 35         Upon our review of the Record, “there is a reasonable possibility that, had the

       error in question not been committed, a different result would have been reached[,]”
                                        STATE V. BRICHIKOV

                                           2022-NCCOA-33

                                          Opinion of the Court



       as the jury could have found Defendant did not act with malice, but rather with

       culpable negligence, but we cannot know with certainty. See Richardson, 270 N.C.

       App. at 152, 838 S.E.2d at 473 (marks omitted) (“A defendant is prejudiced when

       there is a reasonable possibility that, had the error in question not been committed,

       a different result would have been reached at the trial out of which the appeal

       arises.”). Defendant suffered prejudice due to the trial court’s failure to instruct the

       jury regarding involuntary manslaughter and is entitled to a new trial.

       4. Involuntary Manslaughter-Culpable Omission

¶ 36         Our holding that the evidence, when viewed in the light most favorable to

       Defendant, supported a finding Defendant acted with criminal negligence and

       entitled him to a jury instruction regarding involuntary manslaughter renders

       Defendant’s second argument–the evidence supported a finding Defendant’s actions

       were a culpable omission meriting an involuntary manslaughter instruction–moot.

       See State v. Angram, 270 N.C. App. 82, 88, 839 S.E.2d 865, 869 (2020) (“Because we

       must reverse the judgment, we need not address [the] defendant’s other issue on

       appeal.”).   We decline to address the substance of Defendant’s second and

       unpreserved argument.       The mootness of Defendant’s second argument is no

       indictment on the validity or invalidity of the argument.

                                          CONCLUSION

¶ 37         Defendant was entitled to a jury instruction on involuntary manslaughter, as
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                                   2022-NCCOA-33

                                 Opinion of the Court



the evidence could have supported a guilty verdict for involuntary manslaughter

under a theory of culpable negligence. Further, Defendant suffered prejudicial error,

as there was a reasonable possibility that a different result would have been reached

had the involuntary manslaughter instruction been given to the jury.

      NEW TRIAL.

      Judge GORE concurs.

      Judge CARPENTER dissents by separate opinion.
        No. 20-660 – State v. Brichikov


             CARPENTER, Judge, dissenting.


¶ 38         In this matter, I concur with the majority that an instruction on involuntary

       manslaughter based upon a theory of culpable omission would require a special

       instruction be given to the jury, and Defendant failed to properly preserve this issue

       for appeal by failing to present his proposed special instruction in writing to permit

       review by this Court.

¶ 39         I write to respectfully dissent regarding the issue of whether the trial court’s

       refusal to grant Defendant’s request for a lesser included instruction on involuntary

       manslaughter contained in the pattern jury instructions was error. Based upon the

       jury finding beyond a reasonable doubt that this offense was especially heinous,

       atrocious, or cruel as an aggravating factor, it appears clear the verdict would not

       have been different had the trial judge given the lesser included involuntary

       manslaughter instruction.

¶ 40         “Involuntary manslaughter, which is a lesser included offense of second degree

       murder, is the unlawful killing of a human being without malice, without

       premeditation and deliberation, and without intention to kill or inflict serious bodily

       injury.” State v. Debiase, 211 N.C. App. 497, 505, 711 S.E.2d 436, 441, disc. rev.

       denied, 365 N.C. 335, 717 S.E.2d 399 (2011) (emphasis added) (citation and marks

       omitted). “Involuntary manslaughter may also be defined as the unintentional killing

       of a human being without malice, proximately caused by (1) an unlawful act not

       amounting to a felony nor naturally dangerous to human life, or (2) a culpably
                                        STATE V. BRICHIKOV

                                           2022-NCCOA-33

                                      CARPENTER, J., dissenting.



       negligent act or omission.” State v. Powell, 336 N.C. 762, 767, 446 S.E.2d 26, 29 (1994)

       (emphasis added).

¶ 41         My colleagues rely heavily on the application of Debiase, 211 N.C. App. 497,

       711 S.E.2d 436. However, Debiase is distinguishable from this case. In Debiase,

       factual accounts varied as to the occurrences resulting in the victim’s fatal wound,

       and the jury had to determine whether the defendant acted intentionally in inflicting

       the wound. See Debiase, 211 N.C. App. at 499, 711 S.E.2d at 438 (testimony presented

       to the effect the defendant did not make a stabbing motion at the victim using a

       broken beer bottle).

¶ 42         In the case at bar, there was no dispute Defendant intentionally and

       feloniously assaulted the victim, causing facial fractures.      At all times, expert

       testimony was consistent in the conclusion the death was a homicide. Further, there

       was substantial evidence of malice in this case. The jury was asked to consider

       aggravating factors and found beyond a reasonable doubt the presence of the

       aggravating factor: the offense was “especially heinous, atrocious, or cruel.” {R. p.

       38}. We have special insight into the jury’s treatment and consideration of the malice

       element of second degree murder, based upon its findings of aggravating factors:

       insight that we would not ordinarily have. In finding this offense was especially

       heinous, atrocious, or cruel beyond a reasonable doubt, it is clear the jury gave

       substantially the same consideration to the evidence that it would have given in the
                                        STATE V. BRICHIKOV

                                           2022-NCCOA-33

                                     CARPENTER, J., dissenting.



       determination of the presence of malice. Therefore, the verdict would not have been

       different had the lesser included instruction on involuntary manslaughter been

       given. The majority correctly writes that in Debiase, we decided, when viewing the

       evidence in the light most favorable to the defendant, “[the] [d]efendant did not know

       and had no reason to believe that the bottle would break or that the breaking of the

       bottle would inflict a fatal wound to [the victim’s] neck.” Id. at 506, 711 S.E.2d at

       442. I cannot similarly agree that in the case at bar, where Defendant beat his wife

       so badly that she suffered multiple facial fractures, the Defendant did not know or

       did not have reason to believe he would cause serious bodily injury or inflict a fatal

       wound.

¶ 43         Given that the jury found this crime to be especially heinous, atrocious, or

       cruel, the evidence is undisputed that Defendant committed an unlawful act

       amounting to a felony intended to inflict serious bodily injury. Even in the light most

       favorable to Defendant, no evidence existed to contravene the fact that Defendant

       assaulted his wife, nor did evidence exist to contravene the fact that Defendant acted

       with the intention to inflict serious bodily injury, or the knowledge or reason to know

       his actions could do so. Therefore, Defendant was not entitled to an involuntary

       manslaughter instruction.

¶ 44         I would find no error in the trial court’s decision to decline to deliver an

       instruction to the jury on involuntary manslaughter because the jury’s verdict would
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                                 2022-NCCOA-33

                            CARPENTER, J., dissenting.



not have been different had the instruction been given.   Therefore, I respectfully

dissent.
